        Case 3:23-cv-00019-BAJ-SDJ      Document 35     09/01/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CIVIL ACTION

VERSUS

BOB DEAN, JR., ET AL.                                      NO. 23-00019-BAJ-SDJ

                                      ORDER

      Considering that the events giving rise to this action occurred in August 2021,

to ensure the availability of witnesses, and particularly in light of the advanced age

of the nursing home residents affected by Defendants’ alleged acts and omissions,

      IT IS ORDERED that a hearing is SET for September 12, 2023 at 10:00 a.m.,

in Courtroom 2, for the purpose of SHOWING CAUSE why an amended scheduling

order setting an expedited trial date and related deadlines should not be entered.

      IT IS FURTHER ORDERED that prior to the September 12 hearing, the

parties shall meet and confer and agree upon three alternative 5-day trial settings,

to begin in August, September, or October 2024.

                            Baton Rouge, Louisiana, this 1st day of September, 2023



                                       ______________________________________
                                       JUDGE BRIAN A. JACKSON
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
